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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE QSAUSZS AH 9
WESTERN DIVISION '

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LOUISE AFFLIS,

 

Plaintiff,

VS.
NO. 03-2714 B/P
BAPTIST MEMORIAL HOSPITAL
d/b/a BAPTIST MEMORIAL
HOSPITAL~COLLIERVILLE,

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Defendant.

 

ORDER GRANTING IN PART DEFENDANT'S MOTIONS IN LIMINE

 

Before the court is defendant Baptist Memorial Hospital’s
(“Baptist Memorial”) Motions in Limine, filed on August 12, 2005
(dkt #56}. Plaintiff Louise Afflis filed her response on August
22, 2005. On August 23, 2005, at the court’s request, Afflis
submitted to the court for its review a copy of Dr. Robert Nucci's
deposition transcript and deposition exhibits. The motions were
referred to the United States Magistrate Judge for determination.
For the reasons below, the motion is GRANTED in part and DENIED in
part_

I. BACKGROUND

Afflis filed a complaint against Baptist Memorial on September

19, 2003. In her complaint, Afflis alleges that on September 19,

2002, she was visiting her hospitalized daughter at Baptist

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Memorial when, after entering her daughter's hospital room, Afflis
slipped and fell on a wet substance on the floor. Afflis’s fall
allegedly caused her to break her left arm, sprain her left knee,
and suffer head, neck, and lower back injuries. She claims that as
a result of her fall, she suffers from hip and nerve damage on her
left side, loss of vision in her left eye, and experiences vertigo.

On December lO, 2003, the court entered a scheduling order in
this case, requiring Afflis to complete her expert witness
disclosures by June 19, 2004, as required by Fed. R. Civ. P.
26(a)(2). The scheduling order further required all expert witness
depositions to be completed by October 6, 2004. Although the
scheduling order was amended on February 28, 2005, that order did
not extend the deadlines for expert disclosures, which had since
long expired.

On April 8, 2005, an evidentiary deposition was taken of Dr.
Robert Nucci, an orthopedic spine surgeon in Tampa, Florida, who
began treating Afflis in late December 2003. Although Dr. Nucci
was identified by Afflis as her treating physician in Afflis’s
interrogatory responses, she did not provide Baptist Memorial with
an expert report for Dr. Nucci or any other witnesses before the
expert disclosure deadline.

During the April 8 deposition, Afflis’s counsel showed Dr.
Nucci medical bills for expenses incurred by Afflis for treatment

she received for her injuries from other physicians and healthcare

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providers, totaling approximately $35,000. Dr. Nucci testified
that these past medical expenses were reasonable and necessary.
(Nucci Dep. at 20-24; Ex. 4) Dr. Nucci also gave his opinion
regarding the amount of Afflis's estimated future medical expenses
over a five-year period. (Nucci Dep. at 18-19) Nucci further
testified about the extent of Afflis’s permanent impairment.
(Nucci Dep. at 14, 17)

In these motions in limine, Baptist Memorial moves to exclude
Dr. Nucci's testimony regarding Afflis’s (l) past medical expenses
for other healthcare providers; (2) estimated, future medical
expenses; and (3) permanent impairment, on the grounds that this
testimony constitutes expert testimony that Afflis failed to timely
disclose as required under Fed. R. Civ. P. 16 and 26(a)(2)(B)F
Pursuant to Fed. R. Civ. P. 37(c)(1), Baptist Memorial contends
that these portions of Dr. Nucci's videotaped deposition testimony

must be excluded at trial.

 

lBaptist Memorial also seeks to exclude other evidence at
trial. (Def. Mot. in Limine at 10-12, items 2 through 7). In her
response brief, Afflis states that “Plaintiff is not going to
offer any evidence objected to in Numbers 2 & 3 of the
Defendant’s Motions in Limine relating to brain injury, nerve
damage in hip, vertigo, loss of vision, or TMJ. With regard to
numbers 4 & 5, they do not require a response as those matters
regarding competency of proof and hearsay can be handled by [the]
Court during trial. Furthermore, Plaintiff is not going to offer
any evidence with regard to items 6 & 7 of the Motions in Limine
dealing with the occurrence report already determined to be
protected by the attorney-client privilege or the emergency room
bill.” Thus, the court at this time need only consider the
parties’ dispute regarding Dr. Nucci’s testimony relating to past
and future medical expenses and permanent impairment.

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II. ANALYSIS
A. Treating Physicians, Expert Testimony, and Rule 26
Fed. R. Civ. P. 26(a) provides that
[A] party shall disclose to other parties the identity of

any person who may be used at trial to present evidence
under Rules 702, 703, or 705 of the Federal Rules of

Evidence. . . . [T]his disclosure shall, with respect to
a, witness who is retained or specially' employed to
provide expert testimony in the case . .. be accompanied

by a written report prepared and signed by the witness.
These disclosures shall be made at the times and in

the sequences directed by the court.

Fed. R. Civ. P. 26(a}(2)(A)-(C). Thus, Rule 26(a)(2) includes two
separate types of disclosures: (1) disclosure of the identity of
any person who may testify at trial under Federal Rules of Evidence
702, 703 or 705; and (2) a more comprehensive written and signed
report, required by Rule 26(a)(2)(B), for a witness who is retained
or specially employed to provide expert testimony in the case or
whose duties as an employee of the party regularly involve giving
expert testimony. Hawkins v. Graceland, 210 F.R.D. 210, 211 (W.D.
Tenn. 2002)(Breen, J.).

A treating physician may testify as to his or her first-hand
observations and information gained during his or her treatment of
a patient without being required to comply with the disclosure
provisions under Rule 26(a)(2)(B). §§§ Fed. R. Civ. P. 26(a)(2)
Advisory Committee’s Note (1993) (“A treating physician . . . can
be deposed or called to testify at trial without any requirement

for a written report”); see also Mohnev v. USA Hockev, Inc., No.

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04-3227, 2005 WL 1655023, at *5-6 (6th Cir. duly 14,

2005)(unpublished); Harville v. Vanderbilt Univ., Inc., 95

Fed.Appx. 719, 724-25 (6th Cir. Aug. 27, 2003)(unpublished};
Hawkins v. Graceland, 210 F.R.D. at 211. However, a treating
physician who offers an opinion based upon facts that were not
learned in the course of treatment of the patient is governed by
the expert witness requirements of Rule 26{a)(2)(B). §§e Hawkins,
210 F.R.D. at 2ll; Hall V. Sykes, 164 F.R.D. 46, 48 (E.D. Va.
1995). As this court explained in Hawkins,

A treating physician is not considered an “expert” for
purposes of Rule 26 simply by virtue of his or her
expertise. . . . The physician is not categorized as an
expert witness “if he or she testifies about observations
based on personal knowledge, including the treatment of
the party.” . . . Thus, “to the extent that a treating
physician testifies only to the care and treatment of the
patient, the physician is not considered to be a
‘specially employed' expert and is not subject to the
written report requirements of Rule 26(a)(2)(B).”
“However, when the doctor's opinion testimony extends
beyond the facts disclosed during care and treatment of
the patient and the doctor is specially retained to
develop opinion testimony, he or she is subject to the
provisions of Rule 26(a)(2){B).” . . . Thus, the
application of the Rule 26 disclosure requirements
depends on the substance of the treating physician's
testimony rather than his or her status.

ld. at 211~212 (internal citations and quotations omitted); Salas
v. United States, 165 F.R.D. 31, 33 (W.D.N.Y. 1995)(“The relevant
question is whether these treating physicians acquired their

opinions as tx) the cause of the plaintiff's injuries directly

 

through their treatment of the plaintiff.”); see also Sullivan v.
Gloc}<:l Inc., 175 F.R.D. 497, 501 (D. Md. 1997); Brown v. Best

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Foods, 169 F.R.D. 385, 387 (N.D. Ala. 1996); Wreath v. United

 

States, 161 F.R.D. 448, 450 (D. Kan. 1995).
B. Dr. Nucci's Testimony

Applying these legal principles to the present case, the court
Concludes that testimony concerning the reasonableness and
necessity of a patient's past medical expenses constitutes expert
testimony under Rule 26(a)(2)(B). See Miller v. Choo Choo Partners,
_L.L, 73 s.w.3d 397, 909 {ct. App. Tenn. 2002},- Jackson v.
Sunkenberg, No. E1999-2271, 2000 WL 66045, at *1-2 (Ct. App. Tenn.
Jan. 27, 2000)(unpublished). Dr. Nucci's opinion, as he testified
in his deposition, was based on his “education, experience and
training,” and not on his personal treatment of Afflis. (Nucci Dep.
at 66). Dr. Nucci never received nor reviewed these medical bills
as part of his treatment of Afflis. To the contrary; it is
undisputed that the medical bills for other providers were compiled
by Afflis's counsel and7 shown7 to Dr. Nucci as part of this
litigation. In fact, Baptist Memorial was not informed by Afflis
until the morning of Dr. Nucci’s deposition that Dr. Nucci intended
to testify about Afflis' past medical expenses.2 Testimony by a
treating physician based on information supplied by an attorney
litigating a case, rather than derived from the physician's care of

the patient, is properly considered expert testimony and is

 

2lt was at that time that Afflis's counsel provided Baptist
Memorial with the “Index of Medical Bills” marked as exhibit 4 to
Dr. Nucci's deposition.

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governed by' Rule 26(a)(2)(B)’s disclosure requirements.3 §§§
Hawkins, 210 F.R.D. at 212 (citing §gla§, 165 F.R.D. at 33);
Sullivan, 175 F.R.D. at 501.

Similarly, Dr. Nucci’s opinion about Afflis's expected future
medical bills over a five-year period is outside the scope of his
treatment of Afflis. This is not an opinion that he formed during
Afflis's treatment; rather, it was an opinion he formed in
anticipation of litigation and at the request of Counsel. §§§
Kegp, 2000 WL 33711516, at *2 (“[t]he issue comes down to whether
[the physician] reached her opinions about causation and injury
directly through her treatment of [the patient] or whether she
developed those opinions close in time to the litigation of this
matter and in connection therewith or at the request of counsel.”);
see also Mohney, 2005 WL 1655023, at *6 (“There is no evidence that
Dr. Ramnath reached the same conclusions regarding causation at the
time he treated_ Mohney. As such, it was reasonable for the
district court to find that Dr. Ramnath was rendering an expert
opinion that was subject to disclosure requirements and to exclude
his affidavit for failing to satisfy those requirements.”). ln the
present case, like in Mohney, there is no indication that Dr. Nucci

reached the opinions regarding Afflis's five-year estimate for

 

3The two letters referenced in and attached to Afflis'S
response brief from Dr. Nucci to Dr. Wolstein merely update Dr.
Wolstein on Afflis’s condition and treatment. The letters have
nothing to do with the reasonableness or necessity of Dr.

Wolstein's or any other healthcare provider's medical bills.

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future medical expenses at the time he treated Afflis. lnstead,
the five-year estimate was generated by Dr. Nucci in anticipation
of litigation, as evidenced by Dr. Nucci's deposition testimony
that he was asked by Afflis's counsel to prepare the estimate.
(Nucci Dep. at 18)

With respect to Dr. Nucci’s testimony regarding' Afflis’s
permanent impairment, the court concludes that this testimony is
based on Dr. Nucci’s personal knowledge and observations obtained
during the course of his care and treatment of Afflis. Unlike his
testimony about Afflis’s future medical expenses, Dr. Nucci did not
reach his conclusions regarding Afflis’s impairments at the request
of Afflis’s counsel, but rather his opinions were formed during and
as a part of his treatment of Afflis. (Nucci Dep. at 66-67)
Baptist Memorial contends that “plaintiff paid Dr. Nucci [$300] to
write a final report regarding his opinion as to permanent
impairment.” However, this same opinion regarding Afflis’s
permanent impairment was previously rendered in a letter from Dr.
Nucci to Dr. Wolstein dated December 22, 2003 - during the time
that Dr. Nucci was treating Afflis. Thus, “the source of the facts
which form the basis of [Dr. Nucci’s] opinions derive from
information learned during the actual treatment of [Afflis]. . ..”
Sullivan, 175 F.R.D. 497. Because Dr. Nucci’s testimony concerning
Afflis’s permanent impairment is based on his treatment of Afflis,

and is not derived from information supplied by Afflis's counsel or

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created in anticipation of litigation, this portion of Dr. Nucci's
testimony is not subject to the comprehensive disclosure
requirements of Rule 26(a)(2)(B}.
B. Exclusion of Testimony Under Rule 37

Under Fed. R. Civ. P. 37(c), “[a] party that without

substantial justification fails to disclose information required by

Rule 26(a) . . . is not, unless such failure is harmless, permitted
to use as evidence at a trial . . . any witness or information not
so disclosed.” Fed. R. Civ. P. 37(c){1). In order for Dr. Nucci’s

expert testimony regarding the reasonableness and necessity of past
medical bills for other healthcare providers and Afflis's expected
future medical expenses to be admitted at trial, Afflis must
demonstrate either (1) substantial justification for failing to
comply with Rule 26(a)(2)(B), or (2) harmless error. Sullivan, 175
F.R.D. at 503-04.

Afflis has failed to articulate any justification for her
failure to comply with Rule 26(a)(2)(B). Expert disclosures were
due in June of 2004, and it is undisputed that Afflis never
provided Baptist Memorial with any expert reports by that deadline.
Moreover, Afflis's failure to comply with Rule 26(a)(2)(B)'s
disclosure requirements in a timely manner is not harmless. Trial
is scheduled to begin in three days, and if the court were to admit
Dr. Nucci’s testimony on either of these points, Baptist Memorial

would not have their own expert to rebut that testimony. Although

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Afflis has been on notice at least since April 2005 - based on
defendant's objections at the deposition - that Baptist Memorial
opposed Dr. Nucci’s testimony on the same grounds which form the
basis of the present motion, Afflis took no steps to cure these
deficiencies in a timely manner.
III. CONCLUSION

For the reasons above, Baptist Memorial’s motion is GRANTED to
the extent it seeks to exclude Dr. Nucci’s testimony regarding
Afflis’s (1) past medical bills for other physicians and healthcare
providers and (2) expected future medical expenses. The motion is
DENIED to the extent it seeks to exclude testimony' regarding
Afflis's permanent impairment.

IT IS SO ORDERED.

 

TU M. PHAM`
United States Magistrate Judge

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Date

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This notice confirms a copy of the document docketed as number 69 in
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EsSEE

 

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Honorable J. Breen
US DISTRICT COURT

